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        April 30, 2024


                                       /s/ Diana Hughes Leiden
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                  Appellate Division of the Supreme Court
                          of the State of New York
                         First Judicial Department


             I, Susanna M. Rojas, Clerk of the Appellate Division of the
      Supreme Court of the State of New York, First Judicial
      Department, do hereby certify that

                         Christina Anne Costello
      was duly licensed and admitted to practice as an Attorney and
      Counselor at Law in all the courts of this State on September
                                                                  r 21,,
      2020, has duly taken and subscribed the oath of office prescribed
      by law, has been enrolled in the Roll of Attorneys and Counselors
      at Law on file in this office, is duly registered with the Office of
      Court Administration, and according to the records of this Court
      is currently in good standing as an Attorney and Counselor-at-
      Law.



                                 In Witness Whereof, I have hereunto set
                                 my hand in the City of New York on
                                 April 24, 2024.




                                            Clerk of the Court




      CertID-00171429
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                        Supreme Court of the State of New York
                         Appellate Division, First Department

        DIANNE T. RENWICK                                                                 MARGARET SOWAH
           PRESIDING JUSTICE                                                          DEPUTY CLERK OF THE COURT


      SUSANNA MOLINA ROJAS                                                           DOUGLAS C. SULLIVAN
           CLERK OF THE COURT                                                         DEPUTY CLERK OF THE COURT


      To Whom It May Concern


             An attorney admitted to practice by this Court may request a certificate of good
      standing, which is the only official document this Court issues certifying to an
      attorney's admission and good standing.


             An attorney's registration status, date of admission and disciplinary history may
      be viewed through the attorney search feature on the website of the Unified Court
      System.


             New York State does not register attorneys as active or inactive.


            An attorney may request a disciplinary history letter from the Attorney
      Grievance Committee of the First Judicial Department.


           Bar examination history is available from the New York State Board of Law
      Examiners.


             Instructions, forms and links are available on this Court's website.




                                                              Susanna Rojas
                                                              Clerk of the Court




      Revised October 2020


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